              Case 2:05-cr-20038-PKH Document 242                Filed 10/12/05 Page 1 of 2 PageID #: 125




                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF ARKANSAS
                                                   FORT SMITH DIVISION


                UNITED STATES OF AMERICA                                                        PLAINTIFF

                            v.                  Crim. No. 2:05CR20038-003

                FELIX HERRERA, JR.                                                               DEFENDANT


                                              REPORT AND RECOMMENDATION

                        This case is scheduled for trial on October 24, 2005.         Before me is the motion of

                defendant Herrera for a James hearing (Doc. 233).

                        Federal Rules of Evidence 801(d)(2)(E) provides that a co-conspirator’s statement is not

                hearsay if the statement was made “during the course and in furtherance of the conspiracy.”

                The rule further provides that the contents of the statement shall be considered but are not alone

                sufficient to establish “the existence of the conspiracy and the participation therein of the

                declarant and the party against whom the statement is offered.” An out-of-court statement by

                a co-conspirator is admissible if the trial court is satisfied by a preponderance of the evidence

                that the statement was made during the course of and in furtherance of a conspiracy to which the

                declarant and defendant were parties. Bourjaily v. United States, 483 U.S. 171, 175 (1987).

                        In United States v. Bell, 573 F.2d 2040 (8th Cir. 1978), the Eighth Circuit set out the

                procedure for the admission of co-conspirators statements under Rule 801(d)(2)(E). Under Bell,

                a district court is required to admit conditionally at trial statements of co-conspirators subject to

                a final on-the-record ruling that the statement is admissible under the co-conspirator exception

                to the rule against hearsay. See United States v. Roulette, 75 F.3d 418, 424 (8th Cir. 1996).




AO72A
(Rev. 8/82)
              Case 2:05-cr-20038-PKH Document 242               Filed 10/12/05 Page 2 of 2 PageID #: 126




                        The Fifth Circuit in United States v. James, 590 F.2d 575 (5th Cir. 1979)(en banc) held

                that, whenever reasonably practical, the district court is required to hold a preliminary hearing

                to determine the admissibility of co-conspirator statements rather than making the determination

                at trial. The Eighth Circuit does not require a preliminary hearing but has recognized that a

                district court may hold a preliminary hearing rather than conditionally admitting the statements

                at trial prior to the government’s proof of a conspiracy. See U.S. v. Darden, 70 F.3d 1507, 1528

                (8th Cir. 1995).   The matter remains within the discretion of the trial court. Id.

                        This court’s usual procedure is to make its determination under Rule 801(d)(2)(E) at trial

                under United States v. Bell and this case presents no facts and circumstances requiring deviation

                from the usual procedure. I therefore recommend that the motion for a preliminary James

                hearing be denied.

                        The parties have five (5) days to make any objections to this report. Failure to object may

                result in a waiver of objections.

                        ENTERED THIS 12TH DAY OF OCTOBER, 2005.



                                                                               /s/ Beverly Stites Jones
                                                                               U. S. Magistrate Judge




                                                                2


AO72A
(Rev. 8/82)
